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                                      Friday, 15 September, 2017 11:00:43 AM
                                                  Clerk, U.S. District Court, ILCD
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